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                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT
                   1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                       May 7, 2021

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                          RECORD FOLLOW-UP NOTICE
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 No. 21-1537,    Fitistics, LLC v. Erik Cherdak
                 1:16-cv-00112-LO-JFA

 TO: Fernando Galindo

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 Michael Radday, Deputy Clerk
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